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         DATE:           5/27/2021                                     CASE NUMBER 4:2l-CR-00126-4
     LOCATION:           Sherman
        JUDGE:           Christine Nowak                               USA v. Broderick Steven Johnson
    DEP. CLERK:          K. Lee
     RPTR/ECRO:          Digital Recording
          USPO:         KA- PC-V /                                     AUSA
  INTERPRETER:          N/A
     BEGIN/END:                                                        |\ Q.      Q       ai
    TOTAL TIME:                                                        Defense Attorney


h nitial appearance
a AR AIGNMENT

      Defendant Sworn                Interpreter Required

      Dft appears: with counsel [ without counsel pro se Counsel appears on behalf of defendant

      Date of arrest 5/26/21                        (Other district court & case #)

      Defendant idvised of charges, penalties, and rights

      Dft first appearance with counsel B CJA appointed        etained Federal Public Defender appointed
      Attorney: (W At ft-lA                                                         i

      Defendant advises the Court that they                 have counsel who is or,        will hire counsel.

      Defendant requests appointed counsel, is sworn and examined re: financial status.


      Financial affidavit executed by defendant.
      The court finds the defendant is able to employ counsel       l funable to employ counsel.

                       t yw       fS pointed                 U.S. Pub Defender                        appointed

      If defendant cannot retain counsel, the Court is to be advised within days so counsel may be appointed.

      Govt fiotion for detention Govt oral motion for continuance        Oral Order granting Oral Order denying
           .

      Defendant oral motion to continue detention hearing             0L)ral Order granting Oral Order denying


      Arraignment set


      Detention Hrg set | / XI            Oai/v                       B Temp Detention Order Pending Hearing

      Ordering setting conditions of release Bond executed

      Defendant signed Waiver of Detention Hearing.

      Defendant remanded to custody of United States Marshal

      Defendant motion
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      Gove               ment             otion




                                              ARRAIGNMENT

      Arraignment held

      Dt appears with counsel

      Dft         sworn
               Bjreceived copy of charges                                                            charges read
               H waived reading of charges

      Dft enters a plea of » not guilty
      To Co               w     ( o-         | h      Ox-f-

      Pretrial Discovery and Inspection Order entered. Case set for final pretrial conferences/jury selection and
      trial setting on: SO J g Pretrial Date:

      Raa        5-f ov -or




      Df remanded to custody USM Dft RELEASED on conditions of release after out-processing by USM

                                              Recess
